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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 1:12-CV-24349-DMM


     WI-LAN USA, INC.,

                     Plaintiff,

            v.

     RESEARCH IN MOTION LIMITED and
     RESEARCH IN MOTION
     CORPORATION,

     Defendants.


                   Declaration of James R. Hietala, Jr. in Support of Wi-LAN’s
                    Motion to Compel RIM’s Response to Interrogatory No. 1

            1.       My name is James Raymond Hietala, Jr. and I am an associate attorney at

     Carlson, Caspers, Vandenburgh, Lindquist & Schuman, P.A., counsel for Plaintiff Wi-

     LAN.

            2.       I submit this declaration in support of Wi-LAN’s Motion to Compel

     RIM’s Response to Interrogatory No. 1.

            3.       Attached hereto as Exhibit 1 is a true and correct copy of excerpts of

     Volume 2 of the Bluetooth System Specification (July 2007).

            4.       Attached hereto as Exhibit 2 is a true and correct copy of Plaintiff’s First

     Set of Interrogatories to Defendants (Feb. 7, 2013).

            5.       Attached hereto as Exhibit 3 is a true and correct copy of Defendants’

     Answers to Plaintiff’s First Set of Interrogatories (Mar. 11, 2013).

            6.       Attached hereto as Exhibit 4 is a true and correct copy of a Core PICS



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     Values obtained from searching www.bluetooth.org.

           I declare under penalty of perjury that the foregoing is true and correct.

     Executed on:    May 13, 2013                        /s/ James R. Hietala, Jr.
                                                         James R. Hietala, Jr.




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                                 CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on May 13, 2013, the foregoing document is being
     served on all counsel of record who are deemed to have consented to electronic service
     via the Court’s CM/ECF system:

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     Jeremy Elman
     Kevin Gaunt
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     Notices of Electronic Filing generated by CM/ECF

                                          By: s/ Curtis Carlson




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